          Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                              )
                                                      )
                       v.                             )       No.     22-CR-385 (APM)
                                                      )
                                                      )
EMILY ARCHER PATERSON                                 )
                               Defendant.             )
__________________________________________)




               DEFENDANT’S MEMORANDUM IN AID OF SENTENCING


       COMES NOW ATTORNEY, Mark L. Goldstone, to respectfully submit this

Memorandum in Aid of Sentencing on behalf of Defendant Emily Archer Paterson. There can be

no dispute that the Court has a duty to deliver a sentence that is not greater than necessary to

comply with sentencing purposes. Ms. Paterson acknowledges and accepts responsibility for her

part in the interruption of oral arguments in the Supreme Court on November 2, 2022.


       Ms. Paterson is a devoted mother, CEO, and wife to a retired military officer. She resides

in the suburbs of Washington, D.C. with her family, where she works as the CEO and creative

director of Quatrain Creative, a content marketing agency that she founded. Her values of

democracy and reproductive rights are what motivated her to protest the Supreme Court’s ruling

in Dobbs in hopes of encouraging American women to vote to defend abortion access in the

                                                                                                   1
          Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 2 of 8




midterm elections. Her protest was deliberately designed to be non-violent and minimally

disruptive while achieving her mission of speaking out against the legal violation of women’s

physical and socio-political autonomy. After her short disruption, Ms. Paterson was escorted out

of the Court and later transferred to the Washington Metropolitan Police Department where she

spent a collective 30 hours in processing, detainment, and release procedures. During this time

served, she endured inhumane treatment, including extreme heat, limited access to food or water,

sexual groping during a body search, and the denial of her right to a phone call. This time served

is an appropriate sentencing within the context of the offense and the personal history/motives of

the defendant.


                             CASE BACKGROUND AND TRIAL


       On November 2, 2022, Ms. Paterson, along with two other protestors, was charged with

one count of a class B misdemeanor offense. She arrived at the Supreme Court at around 4:45 am

that morning and waited to be granted lawful access to watch the oral arguments of an unrelated

banking case scheduled for that day. Upon entering the Court Ms. Paterson waited several

minutes before peacefully rising to deliver her prepared statement which lasted only several

seconds. Once finished, Ms. Paterson crossed her wrists and placed her hands in front of her to

demonstrate compliance with the guards and was escorted out of the Court silently. Following

her statements, her two fellow protestors similarly rose and spoke and ultimately joined her

outside the Court to be handcuffed and have mugshots taken. Ms. Paterson expressed no

resistance or violent behavior at any point in this protesting process; rather, she was intentionally

composed and respectful in the delivery of her short statement. Little to no acknowledgment was

given to the three interruptions and the attorney speaking resumed his oral arguments promptly


                                                                                                    2
          Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 3 of 8




after each statement was delivered by Ms. Paterson and her fellow protestors. In response to the

charges, Ms. Paterson has signed a plea agreement, waiver of trial, and statement of offense. She

is prepared to go forward with a joint plea and sentencing on January 13, 2023, to one count of

Speeches and Objectionable Language in the Supreme Court Building, in violation of 18 U.S.C.

§ 6134, a misdemeanor.


                                            ARGUMENT


I. Legal Standard


        The offense is classified as a class B misdemeanor charge of Speech and Objectionable

Language in violation of 40 U.S.C. § 6134. That statute states, “It is unlawful to discharge a

firearm, firework or explosive, set fire to a combustible, make a harangue or oration, or utter

loud, threatening, or abusive language in the Supreme Court building or grounds.” 40 U.S.C. §

6134.


        In proposing the appropriate sentence for the defendant, the Court must consider Ms.

Paterson’s history and the nature and circumstances of the crime committed in relation to the

seriousness of the offense, considering the many factors set forth in Section 3553(a) of 18 U.S.C.

§ 3553(a). Such consideration should impose no more of a sentence than is necessary to promote

respect for the law, provide just punishment and treatment, afford adequate deterrence, protect

the public, allow restitution to victims, and avoid unwarranted inconsistency among similarly

situated defendants. 18 U.S.C. § 3553(a).


II. Imposing a Time-Served Sentence is Sufficient, But Not Greater Than Necessary, to

Comply with § 3553(a).

                                                                                                   3
         Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 4 of 8




       a. Ms. Paterson’s Personal History and Characteristics


       Ms. Paterson was born in New Haven, Connecticut and grew up in Old Lyme,

Connecticut, a small coastal town. She comes from a family of five, with one brother who is

three years older and one brother who is three years younger. Her father was a private banker and

her mother taught at the Yale Nursing School.


       After graduating from high school in 1995, Ms. Paterson attended Yale University where

she obtained a bachelor’s degree in English and was an active member of both the women’s

Ultimate frisbee team and the Aurelian Honor Society. She later pursued a master’s degree in

social work at the University of Maryland, graduating in 2005. This dual degree allowed her to

pursue an editing career at various companies, including roles as senior editor at both Captico

LLC and Hinge Marketing. After accruing work experience, Ms. Paterson proceeded to start her

own writing and content marketing firm, initially called EP Writing, later renamed Quatrain

Creative, of which she is the CEO and founder.


       Outside the scope of her demanding work priorities, Ms. Paterson is a devoted mother

with two sons, ages 15 and 12. In 2013, Ms. Paterson co-founded and became president of a

progressive and nature-focused private elementary school, the River Farm Forest School, which

her sons attended for their elementary-school years. This volunteer position became an unpaid

second job for Ms. Paterson; after stepping down as president she continued to be closely

involved with the school for many years. Fostering a sense of political awareness and an

understanding of social issues for her children is extremely important to Ms. Paterson, a value

that she’s maintained throughout their schooling and in transparent family discussions.




                                                                                                  4
          Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 5 of 8




       Ms. Paterson has always held democratic beliefs, although does not have an extensive

history of activism or radical political participation. She began participating in peaceful protests

after the 2016 election, attending women’s rights marches and other organized events. She has

no criminal record and had never participated in an act of civil disobedience, but as she watched

as democratic norms were trampled and civil rights became increasingly violated, she felt as

though she needed to get more involved. Based on our nation’s history, Ms. Paterson strongly

believes that peaceful protest is necessary to effect social and political change. She feels

compelled to protect not just her own rights and autonomy, but that of future generations of girls

and women—whom she believes should have the same civil rights that were afforded to her.


       b. Nature and Circumstances of the Offense


       Ms. Paterson acknowledged the risk of being arrested before making the statement in the

Supreme Court. She stood peacefully and made her statement respectfully for only several

seconds to minimize the disturbance it posed. She met the court officers without any resistance

and held out her hands to demonstrate her peaceful intentions. The motivation behind her action

was to be heard while causing minimal disturbance, and to respectfully comply with any law

enforcement officer that she encountered due to her actions. She had no intention of evading law

enforcement or avoiding responsibility for her actions.


       What Ms. Paterson did not expect, after such a short and peaceful protest, was to spend a

harrowing 30 hours in detention, during which time she was groped by a guard; denied access to

her legal phone call; transported four times in a dark, crowded and hot transport vehicle; and

kept in a small, sweltering cell with very limited access to water. During her detention, Ms.

Paterson was held in four different facilities, including the DC cellblock, where she spent the

                                                                                                       5
          Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 6 of 8




night in a tiny, bloodstained cell with metal bunkbeds that left her legs covered in bruises. She

was put into severe shackles in federal court including waist chains, leg irons, and having her

hands shackled to her waist. During one of her transports, Ms. Paterson was zip-tied behind her

back and was transported in close quarters with other suspects who were visibly ill.


       Throughout her time, Ms. Paterson came into contact with an estimated 50 guards or law

enforcement personnel, many of whom appeared to be indifferent and desensitized to human

suffering. When Ms. Paterson asked guards for water in the 90-degree cell, for example, she was

frequently ignored. The only food she was given was a wet bologna sandwich and two wet

cookies that were wrapped in a paper towel. The industrial fan outside of the cell was so loud

that Ms. Paterson had to yell to speak to her other cellmate, and the women stuffed toilet paper in

their ears to muffle the noise. To survive the sweltering temperatures, the women had to strip

down to sports bras and tank tops and removed their shoes and socks despite the filthy conditions

of the cell. Additionally, the steel bunk bed in the cell had no mattress; the metal lip on the edge

of the bed caused severe bruising on Ms. Paterson’s legs.


       c. Need to Avoid Unwarranted Sentencing Disparities, and Impose a Sentence That

Reflects the Seriousness of the Offense


       Ms. Paterson has complied with the terms of her pretrial release and has checked in

regularly with the pretrial. She fully understands that her actions in the Supreme Court violated

the law. Ms. Paterson is adequately deterred from any type of future misconduct due to the harsh

consequences she has received. Ms. Paterson served over 30 hours of very difficult jail time for

her actions.




                                                                                                       6
         Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 7 of 8




       There is no reason to believe a sentence greater than time served is necessary to protect

the public from Ms. Paterson or to prevent her from future misconduct. Although her actions

interrupted the Supreme Court, there was no lasting harm or damage that occurred as a result.


       A sentence of time served will simultaneously aid in the prevention of creating

unwarranted sentencing disparities. A sentence of probation is also not necessary to promote

respect for the law, provide just punishment, protect the community, and provide deterrence or

prevent future misconduct.


                                        CONCLUSION


       The above reasons and provided contexts of the offense demonstrate that time served is

an appropriate sentencing.




                                                                                                   7
         Case 1:22-cr-00385-APM Document 20 Filed 01/10/23 Page 8 of 8




                                    Certificate of Service

     The undersigned certifies that a true and correct copy of the foregoing was sent by way of

Case File Express to Meredith E. Mayer-Dempsey, Esq., Assistant United States Attorney for the

District of Columbia, Meredith.mayer-dempsey@usdoj.gov on this January 10, 2023.



                                 /ss/ Mark L. Goldstone

                                 Mark L. Goldstone #394135

                                 1496 Dunster Lane

                                 Rockville, MD 20854

                                 mglaw@comcast.net




                                                                                                  8
